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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT

SAIFULLAH KHAN                                        :
                                                      :
       Plaintiff                                      :               CIVIL ACTION NO.:
                                                      :               3:19-cv-01966- KAD
vs.                                                   :
                                                      :
YALE UNIVERSITY, ET AL                                :
                                                      :
       Defendants                                     :               OCTOBER 7, 2020

             DEFENDANTS’ MOTION FOR EXTENSION OF TIME IN ORDER
               TO RESPOND TO PLAINTIFF’S DISCOVERY REQUESTS

       The defendants hereby request 30 days from the present date to respond to plaintiff’s

Discovery Requests. The reasons for this request are as follows:

       1.       The plaintiff’s requests are quite voluminous with separate lengthy Interrogatories

and Production Requests addressed to each of the twelve defendants.

       2.       The past several months has been a very challenging time for the faculty and staff

at Yale University, with constantly changing rules, regulations and concerns about the COVID-19

virus. This has left little time available to respond to discovery requests.

       3.       The delay in obtaining all the necessary information has been further complicated

by an unanticipated surgical procedure on defense counsel.

       4.       The undersigned defense counsel has discussed this matter with plaintiff’s counsel,

Attorney Norman Pattis, who has graciously agreed to the granting of this request.




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                                                      THE DEFENDANTS,



                                                 BY: /s/ Patrick M. Noonan (#ct00189)
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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.



                                                                      /s/
                                                                Patrick M. Noonan




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